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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
vs. Case No.: 22-cr-00115-CVE
ORDER APPOINTING COUNSEL
Johnny Wesley Sparks,
Defendant(s).

Defendant has completed an affidavit as to his/her financial ability to employ counsel. Upon
review, the Court finds that Defendant is financially unable to obtain counsel. In accordance with the
Northern District of Oklahoma Plan for Implementing the Criminal Justice Act of 1984, the Court
finds and orders as follows:

xX Jeffrey Williams, Federal Public Defender for the District of Arizona, the Federal Public
Defender is appointed to represent Defendant in all further proceedings until relieved by order
of the Court.

O , an attorney from the Court’s panel of private attorneys, established
pursuant to the Criminal Justice Act for the Northern District of Oklahoma, is appointed to
represent Defendant in all further proceedings until relieved by order of the Court.

O Defendant will reimburse the government for the reasonable cost of providing representation
in accordance with his/her ability to pay as determined by further order of the court.
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Date: 8/30/2022

Jodi F. J&yne, U.S. Magistrate Judge

IA Arraignment Indictment Detention (12/2021)
